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 9
                              UNITED STATES DISTRICT COURT

10                          CENTRAL DISTRICT OF CALIFORNIA

11
      BLACK LIVES MATTER LOS                          Case No.: 2:20-cv-05027 CBM-AS
12    ANGELES, CANGRESS (DBA LA
13    CAN), STEVEN ROE, NELSON                        OBJECTION TO PLAINTIFFS’
      LOPEZ, TINA ČRNKO, JONATHAN                     REVISED PROPOSED ORDER (Dkt.
14
      MAYORCA, ABIGAIL RODAS,                         66)
15    KRYSTLE HARTFIELD, NADIA
16    KHAN, CLARA ARANOVICH,
      ALEXANDER STAMM, MAIA
17    KAZIM, ALICIA BARRERA-TRUJILO,
18    SHANNON LEE MOORE, DEVON
      YOUNG, LINUS SHENTU, individually
19
      and on behalf of a class of similarly
20    situated persons;
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                    Plaintiffs,
22           vs.
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   CITY OF LOS ANGELES, a municipal
24 entity, CHIEF MICHEL MOORE, and
25 DOES 1-10 inclusive,
26
                   Defendants.
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28


                           OBJECTION TO PLAINTIFFS’ REVISED PROPOSED ORDER (Dkt. 66)
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 1          Defendants City of Los Angeles and Chief Michel Moore object to the proposed
 2    order filed by Plaintiffs (Dkt. 66).
 3          Defendants have no interest in stifling any protest or speech, indeed, Defendants
 4    support and facilitate many peaceful protests. Nor do defendants wish to turn a blind
 5    eye to criminal behaviors, nor to exert more force than necessary. For these reasons,
 6    Defendants object to the Plaintiffs’ proposed order.
 7          Plaintiffs ask the Court to limit the use of use of 40mm weapons to situations
 8    where officers are “faced with an imminent serious threat of serious bodily injury from a
 9    single subject/suspect as a target specific less lethal option.” This is the standard for
10    using deadly force. It cannot be that there is no difference between less-lethal and lethal
11    force, and the situations in which each such force is warranted. The Plaintiffs’ proposed
12    order would hamper the Los Angeles Police Department and prevent the use of less-
13    lethal munitions when lethal force is not warranted.
14          The City of Los Angeles further objects to Plaintiffs’ proposed order because it
15    changes the status quo. The LAPD’s current policy and training on the 37 mm and 40
16    mm less-than-lethal munitions restricts an officer’s use of those devices to a situation
17    when an officer reasonably believes that suspects or subjects in a crowd are violently
18    resisting a lawful order to disperse, or that a suspect or subject poses an immediate threat
19    of violence or physical harm.
20          Plaintiffs’ proposed order would allow the use of the 40mm device only in a
21    deadly force situation; imminent threat of serious bodily injury. This order would, in
22    essence, constitutionally elevate the less-lethal device’s level of force from an
23    intermediate force option, per the Ninth Circuit, to deadly, or highest level of force.
24          Furthermore, Plaintiffs’ proposed order seeks to eliminate a police officer’s ability
25    to deploy the 40mm foam round at a violent demonstrator who hides behind the non-
26    violent protestors. The precision of the 40mm tool allows the police officer to direct the
27    projectile at only the violent demonstrator, leaving the peaceful protestors free to
28    continue in their free speech. Absent this tool, officers would be left without the means
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                        OBJECTION TO PLAINTIFFS’ REVISED PROPOSED ORDER (Dkt. 66)
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 1    to single out and the remove the violent protestors, and would likely have to shut down
 2    the protest in order to ensure public safety. The LAPD endeavors to allow peaceful
 3    protests to continue, and the 40mm tool assists officers in this endeavor when persons
 4    committed to violence put public safety at risk.
 5
 6    DATED: April 15, 2020                  MICHAEL N. FEUER, City Attorney
 7
 8                                           By: /s/ Gabriel S. Dermer
 9                                           GABRIEL S. DERMER, Assistant City Attorney
10
                                             Attorneys for Defendants City of Los Angeles and
11                                           Chief Michel Moore
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                       OBJECTION TO PLAINTIFFS’ REVISED PROPOSED ORDER (Dkt. 66)
